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James Everett Shelton
316 Covered Bridge Road
King of Prussia, PA 19406
(484) 626-3942
jeshelton595@gmail.com

Plaintiff, Pro Se

                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________
                                      :
JAMES EVERETT SHELTON                 : No. 2:22-cv-01388
                                      :
                   Plaintiff          :
                                      :
        v.                            : Honorable Karen S. Marston
                                      :
NEW BRIDGE MERCHANT CAPITAL           :
LLC, & GUISEPPE TURRICIANO, A/K/A :
JOSEPH TURRICIANO                     :
                                      :
                   Defendants
            NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE:

       Plaintiff JAMES EVERETT SHELTON hereby dismisses this entire action against all

Defendants with prejudice, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

                                                                        Respectfully Submitted,

Dated: May 4, 2022
                                                                          James Everett Shelton
                                                                      316 Covered Bridge Road
                                                                      King of Prussia, PA 19406
                                                                                 (484) 626-3942
                                                                      Jeshelton595@gmail.com

                                                                                Plaintiff, Pro Se




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